       Case 6:18-cv-01120-JWB-TJJ Document 1-1 Filed 04/17/18 Page 1 of 4
                                               ELECTRONICALLY FILED
                                                   2018 Feb 16 AM 11:47
                                     CLERK OF THE SEDGWICK COUNTY DISTRICT COURT
                                            CASE NUMBER: 2018-CV-000372-TC




3241 N. Toben
Wichita, KS 67226
316-977-9999 [t]
316-425-0414 [f]
                        IN THE EIGHTEENTH JUDICIAL DISTRICT
                    DISTRICT COURT, SEDGWICK COUNTY, KANSAS
                                  CIVIL DEPARTMENT


CHARITY STAGGS,                                 )
                                                )
                       Plaintiff,               )
                                                )
v.                                              )     Case No. 18 CV
                                                )
AARON M. SMITH, and                             )
MAX TRANSPORT LLC                               )
                                                )
                       Defendants.              )
                                                )
PURSUANT TO CHAPTER 60 OF K.S.A.


                                       PETITION

       COMES NOW Plaintiff, Charity Staggs by and through her attorneys of record,

Theodore C. Davis and Richard W. James of DeVaughn James Injury Lawyers and

asserts the following in support of her Petition against Defendants Aaron M. Smith and

Max Transport LLC:

1.     Plaintiff Charity Staggs is a resident of Sedgwick County, Kansas.

2.     Defendant Aaron M. Smith is a resident of Mobile, Alabama and may be served at

       Defendant’s residence at 3252 Orleans St, Apt 114, Mobile, AL, 36606.

3.     Defendant Max Transport, LLC is a limited liability company and may be served at

       its resident agent at United States Corporation Agents, Inc. at 9900 Spectrum

       Drive Austin, TX 78717.


                                           1
     Case 6:18-cv-01120-JWB-TJJ Document 1-1 Filed 04/17/18 Page 2 of 4




4.   Based upon information and belief, Defendant Smith was an employee or agent

     of Defendant Max Transport at all times material to this Petition and referenced

     therein.

5.   Defendant Max Transport is liable for the actions of Def Defendant Smith under

     the laws/theories of vicarious liability and respondent superior.

6.   On or about 12/21/2017, Defendant Smith was operating a motor vehicle and was

     involved in a collision with Plaintiff in Sedgwick County, Kansas.

7.   Defendant Smith negligently caused the collision with Plaintiff.

8.   Specifically, Defendant Smith was careless and negligent as follows:

     a.     Inattentive operation of a motor vehicle;

     b.     Failure to keep a proper lookout;

     c.     Failure to use ordinary care;

     d.     Failure to give warning;

     e.     Failure to take evasive action;

     f.     Careless driving;

     g.     Operation of a commercial motor vehicle without first ascertaining that

            movement can be safely made;

     h.     Violating the minimum duties and standards of care set forth under 49

            C.F.R. §§ 380 through 399;

     i.     Violating the minimum duties and standards of care set forth under 49

            C.F.R. § 383.113 by operating a commercial motor vehicle when the driver

            does not possess and demonstrate the basic vehicle control skills, safe

            driving skills and driving skills required by this regulation;



                                            2
      Case 6:18-cv-01120-JWB-TJJ Document 1-1 Filed 04/17/18 Page 3 of 4




      j.     Violating the minimum duties and standards of care set forth under 49

             C.F.R. § 383.111 by operating a commercial motor vehicle when the driver

             did not have knowledge of safe operating regulations, including basic

             backing maneuvers; and

      k.     Negligence and negligence per se for violation of 49 C.F.R. § 383.110 by

             operation of a commercial motor vehicle without the knowledge and skills

             necessary to operate the same safely.

9.    As a result of the Defendants’ negligence, Plaintiff sustained personal injuries.

      Plaintiff’s damages include past medical expenses, future medical expenses, past

      and future economic damages and past and future non-economic damages

      including pain, suffering and mental anguish.

10.   Plaintiff has incurred both economic and non-economic damages as a result of the

      negligence of the defendants. Specifically, Plaintiff was forced to seek medical

      attention, and it is reasonably calculated that Plaintiff may require medical attention

      in the future as a result of this accident.

      WHEREFORE, Plaintiff requests judgment against Defendant for an amount in an

amount in excess of SEVENTY FIVE THOUSAND ($75,000.00), together with the costs

incurred herein and for such other and any further relief this Court deems fair, just and

equitable.

                                                    Respectfully submitted,

                                                    DeVaughn James Injury Lawyers

                                                    By: /s/Theodore C. Davis
                                                    Theodore C. Davis, #25951
                                                    Richard W. James, #19822
                                                    Attorneys for Plaintiff

                                              3
Case 6:18-cv-01120-JWB-TJJ Document 1-1 Filed 04/17/18 Page 4 of 4




                        DEMAND FOR JURY TRIAL

Plaintiff requests a jury trial of twelve (12) persons on all issues so triable.

                                            By: /s/Theodore C. Davis
                                            Theodore C. Davis, #25951
                                            Richard W. James, #19822
                                            Attorneys for Plaintiff




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